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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA

VS.                                   4:13-CR-00221-02-BRW

LAMONT JOHNSON

                                           ORDER

       Today the Court held a hearing on Mr. Johnson’s competency to proceed in this case,

pursuant to 18 U.S.C. § 4241(a). The parties agreed with the conclusion of the April 7, 2014

forensic report1 finding no direct evidence that Mr. Johnson is competent to proceed. In the

report, Dr. Dwyer recommended that Mr. Johnson be referred to a federal medical center for

further evaluation and treatment under 18 U.S.C. § 4241(d). The parties agreed with Dr.

Dwyer’s recommendation.

       Accordingly, I find that Mr. Johnson presently is incompetent to stand trial, and he is

committed to the custody of the Attorney General, who will hospitalize Mr. Johnson for

treatment in a suitable facility for a reasonable period of time, not to exceed four months from

today, as is necessary to determine whether there is a substantial probability that in the

foreseeable future Mr. Johnson will attain the capacity to permit the proceedings to go forward.2

       The Attorney General will hospitalize Mr. Johnson for an additional reasonable period of

time until the earlier of two events occurs: (1) his mental condition is so improved that his

proceeding can go forward, if the Court finds there is substantial probability that within this




       1
        The report was written by Jeremiah Dwyer, Ph.D, of the Federal Bureau of Prisons
Detention Center in Englewood, Colorado.
       2
        18 U.S.C. § 4241(d)(1).
                                                 1
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additional period of time he will attain the capacity to permit the proceedings to go forward; or

(2) the pending charges against him are disposed of according to law.3

       The Attorney General (through the United States Attorney) is directed to file periodic

reports, at least every 45 days, regarding Mr. Johnson’s treatment and status. The reports must

be filed under seal.

       The Attorney General must forthwith designate a facility, and arrange for Mr. Johnson’s

transportation there. Any delay occasioned by this examination is excludable under the

provisions of the Speedy Trial Act as provided by 18 U.S.C. § 3161(h)(1)(A) and (F).

       IT IS SO ORDERED this 20th day of May, 2014.



                                                  /s/Billy Roy Wilson
                                          UNITED STATES DISTRICT JUDGE




       3
        18 U.S.C. § 4241(d)(2)(A) & (B).
                                                 2
